       Case 3:18-cv-02144-AVC        Document 11       Filed 04/23/19   Page 1 of 1




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

NIJIJA-IFE WATERS,                            :
 Plaintiff                                    :
                                              :
       v.                                     :   CASE NO. 3:18-cv-02144 (AVC)
                                              :
NEW HAVEN BOARD OF EDUCATION,                 :
 Defendant.                                   :

                                       JUDGMENT

       This action having come before the Court for consideration of the plaintiff’s

motion for leave to proceed in forma pauperis before the Honorable Donna F. Martinez,

United States Magistrate Judge and the Honorable Alfred V. Covello, United States

District Judge and,

       The Honorable Donna F. Martinez having considered the full record of the case

including applicable principles of law, and having filed a recommended ruling granting

the motion but dismissing the complaint without prejudice pursuant to 28 U.S.C. § 1915

(e)(2)(B) and the Honorable Alfred V. Covello having adopted the recommended ruling

on April 16, 2019, it is hereby,

       ORDERED, ADJUDGED and DECREED that judgment be and is hereby entered

dismissing the complaint without prejudice.

       Dated at Hartford, Connecticut, this 23rd day of April, 2019.



                                          ROBIN D. TABORA, Clerk

                                          By: /s/ Michael Bozek
                                              Michael Bozek
                                              Deputy Clerk
Entered on Date: 4/23/2019
